The evidence was sufficient to convict the defendant of the offense of vagrancy, and no reason appears for a reversal of the judgment of the lower court overruling and denying the certiorari.
                       DECIDED SEPTEMBER 21, 1944.
The defendant, Anne Hunnicutt, was tried and convicted for vagrancy in the criminal court of Fulton County before a judge without a jury. Her certiorari to the superior court was overruled and denied, and to that judgment she excepted.
Chastain, a witness for the State, testified as follows: "I am a police officer of the City of Atlanta. . . On September 4th, 1943, I was at Brown's Cafe, or Buffet, at the corner of Currier and Peachtree Streets, and Anne Hunnicutt was there under the influence of whisky when I arrested her at the second time. I have known her for some time, and have seen her on the streets at various times of the day and night, and she does not work. From her appearance, I would say that she is able to work. So far as I know, she has no money or income for her support. The places where I arrested her and where I have seen her from time to time are in Fulton County, Georgia. I do not know whether she is married or not." A. W. Lyle, sworn for the State, testified: "I am a police officer of the City of Atlanta. I know Anne Hunnicutt, the defendant in this case, and have known her for several years. I have seen her uptown and at other places in beer parlors *Page 575 
drinking. I have also seen her idling and loitering around the bus station down on Cain Street in the City of Atlanta. I have seen her there at night. I have seen her walking around on the streets at many different times, and have seen her associating with people who were known prostitutes. I have seen her when she was very much under the influence of whisky. I hear she is married to a man by the name of Cecil Garrison, but I know her under the name of Anne Hunnicutt. I have seen her both day and night and have never seen her working and do not know whether her husband gives her any money to live on or not. I have seen her at a place on West Peachtree Place where she lives, or said she lives, and this place has a reputation for being a lewd house." Lt. Hilderbrand, another witness for the State, testified: "I am a police officer of the City of Atlanta. I know Anne Hunnicutt and have known her for several years. I know that she was arrested with a man named Cecil Garrison once and he said she was his wife. Whereupon Anne said, `You know damn well that is all off, Cecil; you know I divorced you.' I have never known of her working anywhere. I have seen her on the streets from time to time and at different places. She associates with women who are known prostitutes. . . She does not go under the name of Garrison. She is well known under the name of Anne Hunnicutt and Anne Franklin." The defendant made the following statement: "Judge, I live with my sister-in-law, and I keep house for her for my room and board. Cecil Garrison is my husband and he gives me $15 per week for my support. I go under the name of Anne Hunnicutt because we have been separated several times. I make my own room and board by keeping house for my sister-in-law, and my husband gives me other money."
Counsel for the defendant insists that there was not sufficient evidence to authorize the judge, trying the case without a jury, to find the defendant guilty of vagrancy, and, as the defendant was a married woman and it was not shown that her husband was "unable to support her," she can not be convicted of vagrancy in violation of section 26-7001 of the Code. *Page 576 
The defendant, although she said that she was married to one Cecil Garrison and that he gave her $15 per week for her support, stated that she "went under the name of Anne Hunnicutt because we have been separated several times." There was no evidence whatsoever that she was known or had ever been known as Mrs. Garrison. Furthermore, Lt. Hilderbrand testified, in part, as follows: "I know Anne Hunnicutt and have known her for several years. I know that she was arrested with a man named Cecil Garrison once and he said that she was his wife. Whereupon, Anne said, `You know damn well that is all off, Cecil; you know I divorced you.' I have never known of her working anywhere." Under the facts disclosed by the record we think that there was ample evidence to authorize the trial judge to find that the defendant was not married on the date charged in the accusation. The evidence authorized a finding that the defendant led an idle, immoral, and profligate life, had no property to support her, and was able to work and did not work. Code, § 26-7001. Cody v.State, 118 Ga. 784 (45 S.E. 622); Welborn v. State,119 Ga. 429 (46 S.E. 645); Arwood v. State, 25 Ga. App. 482
(103 S.E. 726); Forrester v. State, 46 Ga. App. 658
(168 S.E. 791).
Judgment affirmed. Broyles, C. J., and Gardner, J., concur.